8:97-cr-00088-JFB-FG3           Doc # 135   Filed: 07/13/06   Page 1 of 1 - Page ID # 13




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,                   )
                                             )
                        Plaintiff,           )                 8:97CR88
                                             )
               v.                            )
                                             )         REASSIGNMENT ORDER
 KARLA BLACKBURN and                         )
 RONETTE BEASLEY,                            )
                                             )
                        Defendants.          )


        IT IS ORDERED that, in the interest of judicial economy, this case is reassigned

 from District Judge Thomas M. Shanahan to Chief Judge Joseph F. Bataillon for all

 dispositive matters.

        DATED this 13th day of July, 2006.

                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
